                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

                                            )
CBD INDUSTRIES, LLC,                        )
                                            )
                      Plaintiff,            )      Civil Action No. 3:21-cv-69
                                            )
       v.                                   )      JURY TRIAL DEMANDED
                                            )
MAJIK MEDICINE, LLC,                        )
                                            )
                      Defendant.            )
                                            )


                                        COMPLAINT

       Plaintiff, CBD Industries, LLC, formerly known as cbdMD, LLC (“CBDMD”), for its

complaint against defendant, Majik Medicine, LLC (“Majik”), alleges as follows.

                                      INTRODUCTION

       1.     CBDMD brings this action against Majik to cancel its registered trademark – CBD

MD – related to cannabidiol oil (“CBD”) products produced from the hemp plant. Majik succeeded

in registering its trademark in 2017 even though CBD sales were unlawful under federal and state

drug laws, and even though sales of food or dietary supplements containing CBD were unlawful

under the federal Food, Drug and Cosmetic Act (“FDCA”). CBDMD also asserts claims for false

advertising and unfair competition under the § 43(a) of the Lanham Act and state law and trade

disparagement based on Majik’s advertising and promotion using its trademark and other

statements of alleged fact that harm CBDMD.

                                          PARTIES

       2.     CBDMD is a North Carolina limited liability company having a principal place of

business at 8845 Red Oak Blvd., Charlotte, North Carolina.




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        3.       Majik is a limited liability company that, on information and belief, has a principal

place of business at 629 Village Lane South, Mandeville, Louisiana. The members of Majik are

Brenda Kraft, Christy Peachey, and Danny Sinclair, all of whom are citizens of Louisiana.

                                          JURISDICTION

        4.       This is an action against Majik for trademark cancellation, false advertising and

unfair competition under the Lanham Act and state law, and trade disparagement.

        5.       Exclusive subject matter jurisdiction over this action is conferred upon the Court

pursuant to 28 U.S.C. §§ 1331, 1338, and 15 U.S.C. § 1121(a). Jurisdiction over the state law

claims is conferred by 28 U.S.C. § 1367 and under § 1332 and diversity of jurisdiction exists and

the amount in dispute is over $75,000, exclusive of interests and costs.

        6.       Personal jurisdiction over Majik exists in this state. Majik directs its advertising

and its use of its CBD MD Mark within the State of North Carolina and offers to sell its competing

CBD products to residents of North Carolina, who may purchase products through its website, by

email, or by telephone. Majik is also otherwise engaged in substantial activity in North Carolina

and has engaged in communications with CBDMD pertaining to the subject matter of the claims

at issue here.

        7.       Venue in this District is proper under 28 U.S.C. § 1391(b).

A.      CBDMD

        8.       CBDMD’s parent entity (CBDMD, Inc.) is a publicly traded company.

        9.       CBDMD, the operating entity, produces and distributes various high-grade,

premium CBD products under its CBDMD™ brand. CBD is a natural substance produced from

the hemp plant and the products manufactured by CBDMD are non-psychoactive as they do not

contain tetrahydrocannabinol (“THC”).




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       10.     CBDMD started selling products including topical lotions, topical creams, topical

oils, medicinal lotions, medicinal creams and medicinal oils under the CBDMD mark at least as

early as May 16, 2017. The CBDMD line of products has been enthusiastically received by the

consuming public, generating sales in excess of $30 million. The CBDMD line of products is

available in interstate commerce at retail outlets and on its website located at

https://www.cbdmd.com, incorporated here by reference.

       11.     CBDMD has been the highest-level sponsor at numerous large events attended by

thousands of participants interested in viewing, purchasing and using its products. CBDMD’s

CBDMD mark is well known and recognized.

       12.     CBDMD, through its affiliated entities, applied to register certain trademarks,

which have not been issued. It has a common law trademark for CBDMD.

       B.      MAJIK

       13.     On December 21, 2011, Daniel Sinclair (“Sinclair”), Brenda N. Kraft (“Kraft”), and

Christy Peachey (“Peachey”) formed a limited liability company under the laws of Louisiana

named Majik Medicine, LLC, the defendant in this case. Sinclair is the manager of Majik and Kraft

and Peachey are its members. As of April 5, 2019, Majik was not in good standing for failing to

file an annual report with the Louisiana Secretary of State. Public records show that Majik filed an

annual report on or about April 8, 2020.

       14.     Majik has been and is selling products in interstate commerce, including in North

Carolina, that contain CBD, including products intended for ingestion by humans. Majik maintains

a website to advertise and promote its products, https://majikmedicine.com. It also promotes its

products on a Facebook page.




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       15.     CBDMD has standing to bring these claims. CBDMD and Majik are competitors

in the market for CBD products. Majik has made material false representations about CBDMD

intended to defame, disparage, and injure CBDMD in the sales and marketing of its products. And

Majik is unlawfully using its CBD MD Mark, which the U.S. Patent and Trademark Office

(“PTO”) should never have issued, and is likely to cause consumers into erroneously believing

that Majik’s products are lawful food and dietary supplements, which they are not.

       16.     Further, Majik advertises, offers to sell, and sells its CBD MD products using its

name, Majik Medicine, which is likely to cause consumer confusion and to falsely induce them to

believe that its CBD MD products are drugs, which is contrary to the FDCA, the Federal

Trademark Commission Act, and comparable state laws and rules. Indeed, since at least May

2019, Majik has advertised and promoted its products using a symbol that is used by doctors:




       17.     Majik purports to be the owner of U. S. Trademark Reg. No. 5,173,264 (“CBD MD

Mark”) for the mark CBD MD in Classes 003 for skin and body topical lotions, creams and oils

for cosmetic use; all of the aforementioned containing Cannabidiol (“CBD”), and 005 for

medicinal creams for skin care; medicinal herbal preparations; medicinal oils; herbs for medicinal

purposes; all of the aforementioned containing CBD. Exhibit A.

       18.     On February 21, 2016, Majik applied for the CBD MD Mark under 15 U.S.C. §

1051(b) as an intent-to-use application and it was labeled as U.S. Trademark Application No

86914580. Exhibit B.


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       19.     On June 14, 2016, the PTO issued an Office Action for the CBD MD application.

On December 14, 2016, Majik filed a Response to Office Action. Majik argued that its CBD MD

products would not violate the Controlled Substances Act. No mention was made of the FDCA.

Exhibit C.

       20.     On December 14, 2016, Majik filed an Amendment to the registration application

cancelling Class 35 and amending the description of Class 003 and 005 to specify that “all of the

aforementioned [materials] containing CBD.” Accordingly, all of the products described for the

mark contain CBD, but the descriptions do not indicate the level of tetrahydrocannabinol (“THC”).

Exhibit D. No mention was made of the FDCA.

       21.     On December 14, 2016, Majik filed an Amendment to Allege Use under 15 U.S.C.

§ 1051(c) along with a specimen. Majik amended its date of first use to February 21, 2016. Exhibit

D.

       22.     Majik submitted a declaration to the PTO on December 14, 2016, when it filed a

Combined Response to Office Action and an Amendment to Allege Use declaring that CBD MD

was in use in commerce as of February 21, 2016. Exhibit D. No mention was made of the FDCA.

       23.     The PTO issued the registered CBD MD Mark to Majik on March 28, 2017. The

mark is not incontestable.

       24.     On April 16, 2019, CBDMD, through an affiliated entity, filed a petition to cancel

Majik’s registration for its CBD MD Mark, which is pending before the PTO’s Trial and Appeals

Board (“TTAB”). CBDMD will ask the TTAB to stay that proceeding, pending this case.

       25.     On or about September 19, 2019, Majik posted on its Facebook page, which is

incorporated by reference, a false statement disparaging CBDMD:




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Majik’s post falsely represented that its “Trademark was properly awarded,” knowing that its use

of the trademark in connection with a CBD food or dietary supplement product was not authorized

under the FDCA. Majik also knew that its CBD MD Mark should be cancelled because, among

other things, it fails to function as a mark, and because Majik lacked a bone fide intention to

lawfully use the mark.

       C.     RELEVANT TRADEMARK LAW

       26.    To qualify for federal registration, the use of a mark in commerce must be

lawful. Gray v. Daffy Dan’s Bargaintown, 823 F.2d 522, 526 (Fed. Cir. 1987) (“A valid

application cannot be filed at all for registration of a mark without ‘lawful use in

commerce’”); John W. Carson Found. v. Toilets.com, Inc., 94 USPQ2d 1942 (2010) (TTAB 2010)

(it was not a lawful use in commerce to use a mark in violation of a court injunction based on a

state law claim); In re Stellar Int’l, Inc., 159 USPQ 48, 50-51 (TTAB 1968); Coahoma Chemical

Co., Inc. v. Smith, 113 USPQ 413 (Com’r Pat. & Trademarks 1957) (the “use of a mark in

connection with unlawful shipments in interstate commerce is not use of a mark in commerce

which the [PTO] may recognize.”); TMEP § 907.

       27.    The goods to which the mark will be applied must comply with all applicable

federal laws. See In re Brown, 119 USPQ2d 1350, 1351 (TTAB 2016) (citing In re Midwest


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Tennis & Track Co., 29 USPQ2d 1386, 1386 n.2 (TTAB 1993) (“It is settled that the Trademark

Act’s requirement of ‘use in commerce,’ means a ‘lawful use in commerce’”)); In re Pepcom

Indus., Inc., 192 USPQ 400, 401 (TTAB 1976) ("In order for [an] application to have a valid basis

that could properly result in a registration, the use of the mark [has] to be lawful, i.e., the sale or

shipment of the product under the mark [has] to comply with all applicable laws and regulations.

If this test is not met, the use of the mark fails to create any rights that can be recognized by a

Federal registration."). And “[w]hen the sale or transportation of any product for which registration

of a trademark is sought is regulated under an Act of Congress, the [PTO] may make appropriate

inquiry as to compliance with such Act for the sole purpose of determining lawfulness of the

commerce recited in the application.” 37 C.F.R. § 2.69.

       28.     If the record in an application based on Trademark Act Section 1(a) indicates that

the mark itself or the identified goods or services violate federal law, registration must be refused

under Trademark Act Sections 1 and 45, based on the absence of lawful use of the mark in

commerce. See 15 U.S.C. §§ 1051, 1127; 37 C.F.R. § 2.69; In re Stellar Int’l, Inc., 159 USPQ 48,

50-51 (TTAB 1968).

       29.     For applications based on Trademark Act Section 1(b), 44, or 66(a), if the record

indicates that the mark or the identified goods or services are unlawful, actual lawful use in

commerce is not possible. See In re PharmaCann LLC, 123 USPQ2d 1122, 1124 (TTAB June 16,

2017); In re JJ206, LLC, 120 USPQ2d 1568, 1569 (TTAB 2016); John W. Carson Found., 94

USPQ2d at 1948. Thus, a refusal under Trademark Act Sections 1 and 45 is also appropriate for

these non-use-based applications, because the applicant does not have a bona fide intent to lawfully

use the mark in commerce. See 15 U.S.C. §§1051, 1127; In re PharmaCann LLC, 123 USPQ2d at




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1124; In re JJ206, LLC, 120 USPQ2d 1568, 1569 (TTAB 2016); John W. Carson Found., 94

USPQ2d at 1948. These allegations are further set forth below.

       D.      CSA AND LOUISIANA LAW

       30.     Majik’s CBD products covered by the CBD MD Mark were and are unlawful under

federal and state drug laws and the federal FDCA. The PTO has specified that a determination of

whether commerce involving cannabis and cannabis-related goods and services is lawful requires

consultation of several different sources, including the CSA, 21 U.S.C. § 801 et seq., the Federal

Food Drug and Cosmetic Act (“FDCA”), 21 U.S.C. § 301 et seq., and the Agriculture Improvement

Act of 2018, Pub. L. 115-334 (the 2018 Farm Bill), which amends the Agricultural Marketing Act

of 1946.

               1.     CSA

       31.     “[W]here the identified goods are illegal under the federal Controlled Substances

Act (CSA), the applicant cannot use its mark in lawful commerce, and ‘it is a legal impossibility’

for the applicant to have the requisite bona fide intent to use the mark.” In re JJ206, LLC, 120

USPQ2d at 1569.

       32.     At the time of filing, the CSA prohibited the manufacturing, distributing,

dispensing, or possessing certain controlled substances, including marijuana and marijuana-based

preparations. 21 U.S.C. §§ 812, 841(a)(1), 844(a); see also 21 U.S.C. § 802(16) (defining

marijuana). The Drug Enforcement Administration (DEA) interpreted the CSA and DEA

regulations to declare any product that contains any amount of tetrahydrocannabinols (THC) to be

a schedule I controlled substance, even if such product is made from portions of the cannabis plant

that are excluded from the CSA definition of marihuana and that the listing of THC in schedule I

refers to both natural and synthetic THC. 66 Fed. Reg. 51529 (Oct. 9, 2001).




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        33.     In December 2016, DEA issued guidance on the definition of marijuana and

extracts from marijuana which can include CBD under new Schedule I Drug Code 7350, which is

called “marijuana extract.” The new 7350 Drug Code has been interpreted by the DEA as including

extracts comprised of cannabinoids from cannabis plants including CBD, thus making CBD illegal

at the federal level.

        34.     On December 2, 2018, the Agriculture Improvement Act of 2018, commonly

known as the Farm Bill, was signed into law, amending the Agriculture Marketing Act of 1946

(AMA) to remove “hemp” from the CSA’s definition of marijuana. See Pub. L. No. 115-334 (Dec.

20, 2018); 21 U.S.C. §§ 801-971.

        35.     As of February 21, 2016, Majik’s alleged date of first use of its CBD MD Mark, all

cannabinoids, including CBD, were illegal in Louisiana. That law was not changed until 2019.

See, e.g., La. Rev. Stat. 40:964; La. Act No. 164 (June 6, 2019); Exhibit E (La. Bd. of Pharmacy

Guidance Document re Cannabidol (CBD) Oil (Nov. 14, 2018) (CBD Oil is illegal under federal

or state law)); Exhibit F. As of February 21, 2016, it was not lawful to market CBD containing

materials in Louisiana, where Majik is registered, or in interstate commerce. Accordingly, any

commerce of the Majik products – all of which contain CBD – would have been unlawful. See

Exhibit F (“Louisiana law does not make a distinction between CBD extracted from hemp and

CBD extracted from marijuana” and CBD is not legal in Louisiana).

        36.     The PTO instructed that for trademark applications filed on or after December 20,

2018 that identify goods encompassing cannabis or CBD, the 2018 Farm Bill could potentially

remove the CSA as a ground for refusal of registration, but only if the goods are derived from

“hemp.” If an applicant’s goods are derived from “hemp” as defined in the 2018 Farm Bill, the

PTO instructed applicants that the identification of goods must specify that they contain less than




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0.3% THC. Thus, the scope of the resulting registration would be limited to goods compliant with

federal law. See PTO Examination Guide 1-19: Examination of Marks for Cannabis and Cannabis-

Related Goods and Services after Enactment of the 2018 Farm Bill (May 2, 2019)

       37.     Majik’s assertion of first use of February 21, 2016 is false because there could not

have been a bona fide intention to legally use or a bona fide use of the mark at issue. See 15 U.S.C.

§§ 1051(b), 1127; 37 C.F.R. § 2.69.

       38.     The PTO instructed that for applications filed before December 20, 2018 that

identify goods encompassing CBD or other cannabis products, registration will be refused due to

the unlawful use or lack of bona fide intent to use in lawful commerce under the CSA. Such

applications did not have a valid basis to support registration at the time of filing because,

according to the PTO, the goods violated federal law. Majik’s filed its trademark application in

2016 and the PTO issued the registered mark in 2017 – long before the change to the law in the

2018 Farm Bill. As such, the CSA and Louisiana law did not – and do not – entitle Majik to its

Registration for the CBD MD Mark.

               3.      FDCA

       39.     The FDCA prohibits the introduction or delivery for introduction into interstate

commerce of a food to which has been added a drug or a biological product for which substantial

clinical investigations have been instituted and for which the existence of such investigations has

been made public. 21 U.S.C. § 331(ll); see also 21 U.S.C. § 321(ff) (indicating that a dietary

supplement is deemed to be a food within the meaning of the Federal FDCA). The Food and Drug

Administration (“FDA”) has determined that substantial clinical investigations of cannabidiol have

begun and thus products containing cannabidiol may not be sold as dietary supplements. See FDA

and          Marijuana:         Questions         and          Answers,          available         at




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http://www.fda.gov/newsevents/publichealthfocus/ucm421168.htm#dietarysuppl;

https://www.fda.gov/news-events/public-health-focus/fda-regulation-cannabis-and-cannabis-

derived-products-including-cannabidiol-cbd#legaltosell (revised Oct. 1, 2020).

          40.   An article that has been authorized for investigation as a new drug or as a biologic

before being marketed as a food or as a dietary supplement cannot be marketed as a dietary

supplement if substantial clinical investigations of the article have begun and the existence of such

investigations has been made public. Draft Guidance for Industry: Dietary Supplements: New

Dietary     Ingredient   Notifications   and   Related    Issues    (Aug.    2016),   available    at

https://www.fda.gov/media/99538/download.

          41.   This case pertains to CBD, a naturally occurring compound found in the resinous

flower of cannabis, a plant with a history as a medicine going back thousands of years. Today the

therapeutic properties of CBD are being tested and confirmed by scientists and doctors around the

world. MD is an abbreviation for the Latin title Medicinae Doctor, Doctor of Medicine. The use

of MD on goods or services implies that the good or service is formulated or designed to improve

the user’s health. The combined terms of CBD and MD signify cannabidiol for some medical use.

In addition, CBD MD sells its products to consumers using its corporate name, Majik Medicine.

With one limited exception not applicable here, CBD products cannot be sold to the public as

medicine or drugs. Merriam-Webster defines “medicine” to include a substance or preparation

used in treating disease and that medicine and drugs are synonyms.

          42.   Majik’s Registration for the CBD MD Mark includes goods described as

“medicinal herbal preparations; medicinal oils; herbs for medicinal purposes.” Each of these goods

could be formulated as edible by Majik, thus being in violation of the FDCA. While Majik argued




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to the Examiner that it products were lawful under the CSA, it made no such argument as to the

FDCA.

          43.    The FDA also takes the position that it is unlawful to introduce food or beverages

containing added CBD into interstate commerce or to market CBD as, or in, dietary supplements,

regardless of whether the substances are hemp-derived. See Statement from FDA Commissioner

Scott Gottlieb, M.D., on signing of the Agriculture Improvement Act and the agency’s regulation

of        products      containing       cannabis       and     cannabis-derived       compounds

(https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm628988.htm).

          44.    In addition, an unapproved new drug cannot be distributed or sold in interstate

commerce unless it is the subject of an FDA-approved new drug application (NDA) or abbreviated

new drug application (ANDA). 21 U.S.C. §§ 331(d) and 355(a), (b), & (j); FDA Regulation of

Cannabis and Cannabis-Derived Products: Questions and Answers (https://www.fda.gov/news-

events/public-health-focus/fda-regulation-cannabis-and-cannabis-derived-products-including-

cannabidiol-cbd#qandas). Majik’s products are comprised of cannabidiol and are promoted to

have therapeutic or medical benefits that affect the structure or function of the body. See Exhibit

C.

          45.    The FDA takes the position that a company cannot legally market any CBD product

as a dietary supplement under the FDCA. The FDA has issued dozens of warning letters to CBD

companies. See, e.g., Scientific Data and Information About Products Containing Cannabis or

Cannabis-Derived Compounds, 84 Fed. Reg. 12969 (Apr. 3, 2019); FDA News Release, FDA

warns 15 companies for illegally selling various products containing cannabidiol as agency

details     safety   concerns    (Nov.    25,   2019)     (https://www.fda.gov/news-events/press-




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announcements/fda-warns-15-companies-illegally-selling-various-products-containing-

cannabidiol-agency-details).

       46.     The PTO has also indicated that registration of marks for foods, beverages, dietary

supplements, or pet treats containing CBD will still be refused as unlawful under the FDCA, even

if derived from hemp, as such goods may not be introduced lawfully into interstate commerce. 21

U.S.C. § 331(ll).

       47.     The PTO’s Trademark Trial and Appeals Board has also taken the position that

CBD marks may not be registered at this time based on FDA’s current stance that CBD products

may not be sold in commerce under the FDCA.

       48.      That the trademark at issue at issue should be cancelled as illegal because of non-

compliance with the FDCA and FDA’s regulations is fully supported in the PTO’s Examination

Guide 1-19 at 2 and In re Stanley Bros. Social Enterprs., LLC, Serial No. 86568478, 2020 WL

3288093 (TTAB June 16, 2020). In Stanley Bros., the TTAB ruled that a Colorado company was

prohibited from registering the trademark "CW" for its CBD products because selling them is not

permitted under the FDCA. The TTAB held that the examiner properly rejected registration of the

mark under 15 U.S.C. § 1051 and 1127.

       49.     Majik’s use of its CBD MD Mark for its CBD products for ingestion by humans in

connection with the ® symbol, which represents as a matter of law that the products are legal and

registered as a matter of trademark law, is unfair competition and false advertising that is likely to

mislead consumers and harm CBDMD.

       50.     The documents attached or referred to in this pleading are incorporated herein by

reference.




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                                         CLAIM I
                (Request for Order of Cancellation of Trademark Registration
                                  15 U.S.C. §§ 1119, 1064)

        51.     The foregoing allegations are incorporated here by reference.

        52.     Majik’s Registration for the CBD MD Mark should be cancelled because Majik’s

sale of the relevant products are unlawful under the FDCA and the CSA, as alleged above. Majik’s

use of the CBD MD Mark in connection with the relevant products was also unlawful as of the

date of its alleged first use, and as of the date that the CBD MD Mark was registered with the PTO.

        53.     Majik’s Registration for the CBD MD Mark should also be cancelled because the

CBD MD Mark fails to function as a mark. Registration of the CBD MD mark is also barred by

Sections 14(1) and 2(e) of the Trademark Act of 1946 because the CBD MD Mark consists of a

mark which, when used on or in connection with the goods of the applicant is merely descriptive

or deceptively misdescriptive of them.

        54.     The CBD MD Mark includes Class 003 for skin and body topical lotions, creams

and oils for cosmetic use; all of the aforementioned containing CBD, and Class 005 for medicinal

creams for skin care; medicinal herbal preparations; medicinal oils; herbs for medicinal purposes;

all of the aforementioned containing CBD.

        55.     Majik made false representations to the PTO regarding material facts when its

representatives signed declarations asserting ownership of the CBD MD mark. Majik submitted a

false declaration to the PTO on December 14, 2016 when its representatives filed a Combined

Response to Office Action and an Amendment to Allege Use declaring that CBD MD was in use

in interstate commerce as of February 21, 2016. On information and belief, Majik’s products were

only offered for sale and sold in Louisiana (despite the fact that sales were illegal under that state’s

law). Majik thus made knowingly false misrepresentations to the PTO with the intent to deceive.




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But for Majik’s knowingly false representations, the PTO would not have registered the CBD MD

Mark.

         56.    Majik is one source of goods bearing the descriptive phrase CBD MD. Majik is not,

however, the only source of such goods as other vendors of products containing CBD sell goods

bearing the phrase “CBD MD” which did not come from Majik.

         57.    The phrase “CBD MD” is widely used as descriptive phrase for products containing

CBD including skin and body topical lotions, creams and oils for cosmetic use and for medicinal

creams for skin care, medicinal herbal preparations, medicinal oils, and herbs for medicinal

purposes. The phrase CBD MD is a commonly used descriptive phrase that connotes information

on products which include CBD as an ingredient. It is of unknown origin and has been used on

many kinds of goods that do not original from Majik.

         58.    Majik’s CBD MD mark is incapable of distinguishing the goods of Majik from the

goods of others and therefore cannot function as a trademark and an indicator of source.

         59.    A mark is merely descriptive under Trademark Act § 2(e)(1), 15 U.S.C. §

1052(e)(1), if it describes an ingredient, quality, characteristic, function, feature, purpose or use of

the relevant goods or services.

         60.    The determination of whether a mark is merely descriptive must be made in relation

to the identified goods or services, and not in the abstract. It is not necessary that a term describe

all of the purposes, functions, characteristics or features of the goods or services. It is enough if

the term describes one significant attribute of the goods or services. CBD MD does not act as a

mark.

         61.    CBDMD has been damaged by the registration. Majik is using its trademark

registration to falsely claim differences with CBDMD and others in advertising and promoting




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Majik’s products. In addition, CBDMD, through its affiliated entities, has applied for several

registered trademarks that the CBD MD mark could block once regulatory issues under the FDCA

have been resolved by Congress or the Food and Drug Administration. The mark is also likely to

cause confusion as to the source, quality and legal status of CBD products sold by Majik and

CBDMD.

                                           CLAIM II
                                      (Lanham Act § 43(a))

       62.     The foregoing allegations are incorporated here by reference.

       63.     Majik's products and services are offered for sale, sold, and used in interstate and

foreign commerce.

       64.     In connection with its goods or services, Majik has used one or more words, terms,

names, symbols, or devices, alone or in combination, as well as false designations of origin, false

or misleading descriptions or representations of fact, which are in commercial advertising or

promotion (including without limitation its website, promotional materials, and labels), and Majik

misrepresents the nature, characteristics, qualities, or geographic origin of its or CBDMD’s goods,

services, or commercial activities.

       65.     Majik knowingly and willfully made misrepresentations to the public. Majik

advertises and promotes its services and products by using an invalid registered trademark,

offering for sale and selling its dietary supplement and food products as drugs, and making false

statements regarding CBDMD.

       66.     Majik’s commercial messages and statements are either literally false or literally

true but ambiguous and have the tendency to deceive the market, the public, consumers, potential

consumers and competitors of CBDMD.




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        67.     Majik’s misrepresentations were material and made in bad faith for the purpose of

deceiving the market, the public, consumers, potential consumers and competitors of CBDMD and

harming its competition, including CBDMD.

        68.     The misrepresentations deceive or are likely to deceive the market, the public,

consumers, potential consumers and competitors of CBDMD and Majik’s products. Further, the

misrepresentations are likely to influence the purchasing decisions of others and have caused injury

or are likely to do so.

        69.     By reason of Majik's statements and conduct, Majik has willfully violated § 43(a)

of the Lanham Act, 15 U.S.C. § 1125(a), and CBDMD has suffered, and will continue to suffer

damage to its business, reputation, and goodwill and has lost sales and profits that it would have

made but for Majik’s acts. CBDMD has suffered damages in an amount to be determined at trial

plus interest and costs.

        70.     CBDMD has been irreparably harmed by Majik's acts and it should be preliminarily

and permanently enjoined from further violation of the law.

                                         CLAIM III
                     (State Law False Advertising and Unfair Competition)

        71.     The foregoing allegations are incorporated by reference.

        72.     As alleged above, Majik has made statements in its advertising that are false and

misleading. Majik knew or by the exercise of reasonable care should have known that the

statements were false and misleading.

        73.     Majik violated state law by engaging in the unlawful, unfair and fraudulent business

acts or practices by engaging in the conduct alleged above, including its false and misleading

statements and advertising about the compliance and safety of its dietary supplement ingredients

and products to its customers and the public.



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          74.   CBDMD has been economically aggrieved by Majik’s unlawful business acts and

practices as alleged, including the loss of money, property, and goodwill. As a result, CBDMD has

suffered damages in an amount to be determined at trial in excess of $75,000 plus interest and

costs.

          75.   CBDMD has been irreparably harmed and Majik should be preliminarily and

permanently enjoined from further violation of the law.

                                          CLAIM IV
                                     (Trade Disparagement)

          76.   The foregoing allegations are incorporated by reference.

          77.   Majik has published false statements as to the business and trade of CBDMD,

including its Facebook post displayed above.

          78.   Majik published the statement knowing that it was false or with reckless disregard

of whether the statement is true or false.

          79.   Majik published the false statement with the intent, or reasonable belief, that the

statement will cause financial loss for CBDMD.

          80.   CBDMD has incurred financial losses and will continue to incur such losses unless

the false statements are removed and corrective disclosure is made. As a result, CBDMD has

suffered damages in an amount to be determined at trial plus interest and costs.

          81.   CBDMD has been irreparably harmed and Majik should be preliminarily and

permanently enjoined from further violation of the law.

                                          CLAIM V
                              (Unfair & Deceptive Trade Practices)

          82.   The foregoing allegations are incorporated herein by reference.




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        83.     Section 75-1.1 of the North Carolina General Statutes prohibits “unfair methods of

competition in or affecting commerce, and unfair or deceptive acts or practices in or affecting

commerce.”

        84.     Majik’s misconduct, in engaging in false advertising, unfair competition and trade

disparagement, all as described in detail above, constitutes a violation of N.C. Gen. Stat. § 75-1.1.

        85.     As a direct and proximate result of Majik’s unfair competition and unfair and

deceptive trade practices, as described above, CBDMD has suffered significant actual damages, in

an amount to be established at trial but in any event in excess of $75,000.00.

        86.     Pursuant to N.C. Gen. Stat. § 75-16, CBDMD is entitled to have the amount of its

actual damages trebled.

        87.     Majik has willfully engaged in the above-described unlawful acts or practices, and

Majik has engaged in an unwarranted refusal to resolve the matters that constitute the basis of this

civil action.

        88.     By reason of the foregoing, CBDMD requests that this Court award CBDMD its

reasonable attorney’s fees incurred in the prosecution of this action, pursuant to N.C. Gen. Stat. §

75-16.1.



                                    REQUEST FOR RELIEF

        CBDMD requests the following relief:

        a.      judgment in its favor on all claims against Majik;

        b.      cancellation of U. S. Trademark Reg. No. 5,173,264;

        c.      judgment for damages in an amount to be determined at trial in excess of $75,000

                exclusive of interest and costs, as well as pre- and post-judgment interest;




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      d.      a preliminary and permanent injunction against Majik and those acting in concert

              with it against continued violations of the Lanham Act and state law;

      e.      punitive and enhanced or trebled damages as allowed by law;

      f.      reasonable attorneys’ fees as allowed by law;

      g.      costs pursuant to Fed. R. Civ. P. 54(d) or otherwise provided by law; and

      h.      such other relief as the Court deems just and appropriate under the circumstances



Dated: February 12, 2021                    Respectfully submitted,

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